           Case 2:19-cv-00394-MKD                   ECF No. 18        filed 11/04/20       PageID.1001 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_                                          FILED IN THE
                                                                                                                U.S. DISTRICT COURT
                                                     Eastern District of Washington                       EASTERN DISTRICT OF WASHINGTON


                     JOSHUA ALLEN F.,                                                                         Nov 04, 2020
                                                                     )                                         SEAN F. MCAVOY, CLERK

                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:19-cv-00394-MKD
              ANDREW M. SAUL,                                        )
       COMMISSIONER OF SOCIAL SECURITY,                              )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 14, is DENIED; Defendant’s Motion for Summary Judgment, ECF
’
              No. 15, is GRANTED; and Judgment is entered in favor of the Defendant.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                Mary K. Dimke                                                on cross-motions for summary
      judgment.


Date: November 4, 2020                                                     CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Angela Noel
                                                                                          (By) Deputy Clerk

                                                                            Angela Noel
